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                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

David J. Smith                                                                          For rules and forms visit
Clerk of Court                                                                          www.ca11.uscourts.gov


                                           March 21, 2024

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 24-10736-J
Case Style: National Small Business United, et al v. U.S. Department of the Treasury, et al
District Court Docket No: 5:22-cv-01448-LCB

                                       BRIEFING NOTICE

Briefing and Appendix Deadlines
Pursuant to 11th Cir. R. 31-1(a), the appellant's brief is due April 22, 2024. The appendix is due
7 days after the appellant's brief is filed. An incarcerated pro se party is not required to file an
appendix.

The appellee's brief is due within 30 days after the service of the last appellant's brief. The
appellant's reply brief, if any, is due within 21 days after the service of the last appellee's brief.
This is the only notice you will receive regarding the due date for briefs and appendices.

Form
Please see FRAP 32(a) and the corresponding circuit rules for information on the form of briefs
and FRAP 32(b) and 11th Cir. Rules 30-1 and 30-2 for information on the form of appendices.

Paper Copies
All parties must file 4 briefs in paper. Parties must file 2 appendices in paper, except that pro se
parties proceeding in forma pauperis must file only 1 appendix in paper and incarcerated pro se
parties are not required to file an appendix.

Use of the ECF system does not modify the requirement that filers must also provide to the
Court 4 paper copies of the brief and the required number of paper copies of the appendix. See
11th Cir. Rules 30-1(d) and 31-3. ECF filers will be considered to have complied with this
requirement if, on the day the electronic brief or appendix is filed, the filer sends the paper
copies to the clerk using one of the methods outlined in FRAP 25(a)(2)(A)(ii).

Appearance of Counsel
If you have not entered your appearance in this appeal, please note that the clerk generally may
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not process your filings. See 11th Cir. R. 46-6. Appearance of Counsel Forms are available on
the Court's Web site. Appointed counsel are not required to file an appearance form.

Certificate of Interested Persons and Corporate Disclosure Statement ("CIP")
Every brief must contain a CIP. See FRAP 26.1 and the accompanying circuit rules. The failure
to comply with 11th Cir. Rules 26.1-1 through 26.1-4 may result in dismissal of the case or
appeal under 11th Cir. R. 42-1(b), no action taken on deficient documents, or other sanctions on
counsel, the party, or both. See 11th Cir. R. 26.1-5(c).

Clerk's Office Phone Numbers
General Information: 404-335-6100         Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135         Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125            Cases Set for Oral Argument: 404-335-6141



                                                                   Briefing Notice 1 - Appellant
